                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
  CATHERINE MCKOY, MARKUS FRAZIER, and
  LYNN CHADWICK, individually and on behalf of all
  others similarly situated,

                         Plaintiffs,
                                                                  No. 1:18-cv-09936-LGS-SLC
               v.

  THE TRUMP CORPORATION, DONALD J. TRUMP,
  in his personal capacity, DONALD TRUMP, JR., ERIC
  TRUMP, and IVANKA TRUMP,

                         Defendants.


          NOTICE OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and

Declaration of Matthew D. Brinckerhoff with exhibits annexed thereto, Plaintiffs Catherine

McKoy, Markus Frazier, and Lynn Chadwick (“Plaintiffs”), by and through their undersigned

counsel, will move this Court, before the Hon. Lorna G. Schofield, at the Thurgood Marshall

United States Courthouse, 40 Foley Square, New York, New York, for an order certifying four

damages classes against Defendants the Trump Corporation, Donald J. Trump, Donald Trump,

Jr., Eric Trump, and Ivanka Trump (“Defendants”) under Federal Rule of Civil Procedure

23(b)(3), and for such other and further relief as the Court deems proper. Specifically, Plaintiffs

move to certify the following Rule 23(b)(3) classes:

       (1)     All Plaintiffs seek certification of a nationwide class consisting of all persons who

made payments to ACN to participate in the IBO Opportunity but did not recoup from ACN an

amount equal to or more than those payments, for purposes of asserting common law fraud and

negligent misrepresentation claims (the “Common Law Class”);




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       (2)    Plaintiff Catherine McKoy seeks certification of a class consisting of all persons

in California who made payments to ACN to participate in the IBO Opportunity but did not

recoup from ACN an amount equal to or more than those payments, for purposes of asserting

statutory claims under the California False Advertising Law (“FAL”) and Unfair Competition

Law (“UCL”) (the “California Class”);

       (3)    Plaintiff Markus Frazier seeks certification of a class consisting of all persons in

Maryland who made payments to ACN to participate in the IBO Opportunity but did not recoup

from ACN an amount equal to or more than those payments, for purposes of asserting statutory

claims under the Maryland Consumer Protection Act (“MCPA”) (the “Maryland Class”); and

       (4)    Plaintiff Lynn Chadwick seeks certification of a class consisting of all persons in

Pennsylvania who made payments to ACN to participate in the IBO Opportunity but did not

recoup from ACN an amount equal to or more than those payments, for purposes of asserting

statutory claims under the Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”) (the “Pennsylvania Class”).

       In the alternative, Plaintiffs will move this Court of an order certifying a class as to the

issues of the falsity and materiality of Defendant Donald J. Trump’s statements pursuant to

Federal Rule of Civil Procedure 23(c)(4).




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Dated: March 10, 2023
       New York, New York


  /s/ John C. Quinn                  /s/ Mathew D. Brinckerhoff
  Roberta A. Kaplan                  Matthew D. Brinckerhoff
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  Attorneys for Plaintiffs




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